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                       IN THE UNITED STATES DISTRICT COURT

                        DISTRICT OF UTAH, CENTRAL DIVISION


 UNITED STATES OF AMERICA,                           MEMORANDUM DECISION AND
                                                         ORDER TO CONTINUE
                Plaintiff,                         JURY TRIAL AND EXCLUDING TIME

 v.                                                        Case No. 2:11 CR 00056 TS

 PAUL AMA and SHILO MICHELLE
 GRIFFIN,

                Defendants.


        Based on the Motion to Continue the Jury Trial filed by Defendant, Paul Ama, and Defendant

Shilo Griffin’s Joinder, the court makes the following findings:

        1.     Counsel for the Defendant requests additional time to conduct further investigations

in this case. Specifically, the defense has attempted to interview several witnesses who may have

information regarding the alleged offenses in this case. To date, the defense has not been able to

interview those witnesses due to circumstances unrelated to the due diligence of defense counsel.

        2.     Furthermore, counsel for the Defendant has requested key evidence that has not yet

been provided by the government. The critical evidence includes laboratory reports of drug tests,

possible DNA testing conducted on evidence, and possible fingerprint evidence. Without this

evidence, counsel cannot adequately prepare for trial. Once this evidence is received, counsel will

need additional time to analyze the evidence and consult with independent experts regarding the

impact of the evidence on the Defendant's possible defenses. Due to a backlog at local and national

crime laboratories, counsel believes there will be some delay in acquiring the evidence. The

Government has indicated that it is unsure when the evidence will be available to defense counsel.
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        3.      Although this case is not complex, the Defendant's potential sentencing exposure is

great as evidenced by the Government's recent filing of multiple mandatory minimum sentencing

enhancement notices. Given the nature of the evidence described above, and the gravity of the

sentencing exposure in this case, counsel for the Defendant believes the interests of justice require

a continuance of at least 60 days in this case. Depending on when the Government is able to fulfill

the discovery requests mentioned above, more time may be needed in the future. Counsel for the

Defendant reserves the right to request additional time in the future based on future developments.

       4.      Defendant, Paul Ama, is in custody and agrees with the need for a continuance of the

trial. This is the first continuance requested in this case. Defendant Griffin joins in the Motion to

Continue the Trial. The government has been contacted and has no objection to the requested

continuance.

        5.      Counsel has been diligent in preparing for trial, including by attempting to contact

witnesses. However, due to circumstances beyond the control of the parties, counsel for the

defendant has not yet received all evidence or been able to contact all potential witnesses. To deny

the requested continuance would deny counsel for Defendant the time necessary for effective

preparation, taking into account his due diligence. Because counsel has yet to receive all of the

evidence against his client, the ends of justice are best served by a continuance of the trial date, and

the ends of justice outweigh the interest of the public and the Defendant in speedy trial.

        Based on the foregoing findings, it is hereby:




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                                            ORDERED

       The 3-Day Jury Trial previously scheduled to begin on March 28, 2011, is hereby

continued to the 13th day of June, 2011, at 8:30 a.m. Pursuant to 18 U.S.C. § 3161(h), the Court

finds that the ends of justice served by such a continuance outweigh the best interests of the

public and the defendant in a speedy trial. Accordingly, the time between the date of this order

and the new trial date set forth above is excluded from speedy trial computation for good cause.

       Dated this 29th day of March, 2011.

                                              BY THE COURT:


                                              __________________________________________
                                              Ted Stewart
                                              Chief United States District Court Judge




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